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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

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EDWARD BANKS, et al.,

                       Plaintiffs,

       v.                                            No. 1:20-cv-849 (CKK)

QUINCY BOOTH, in his official capacity
as Director of the District of Columbia
Department of Corrections, et al.,

                  Defendants.
____________________________________

                        CONSENT ORDER APPOINTING AMICUS

        The Court hereby appoints Grace M. Lopes and Mark Jordan as amici curiae to provide
information to the Court. The specific information that the Court seeks from amici is listed in the
attachment to this Order, and further orders regarding form and deadlines for reporting to the Court
will issue later.

        Further, the Court ORDERS that Grace M. Lopes and Mark Jordan shall be able to enter
Department of Corrections (“DOC”) facilities, including Correctional Treatment Facility (“CTF”)
and the Central Detention Facility (“CDF”) unannounced and bring with them cameras, cell
phones, writing implements, and any other equipment required to conduct their site visits. Once
in the facilities, Grace Lopes and Mark Jordan shall be permitted to inspect areas of the facilities
without limitation, and shall be permitted to speak with staff and residents in confidence and
outside of the presence of DOC supervisors and staff.

         It is further ORDERED that Grace M. Lopes and Mark Jordan shall be permitted to review
all pertinent DOC records and documents, electronic or otherwise, and video footage in connection
with their investigation. The DOC is also ORDERED to preserve all pertinent documents and
video footage.

       It is further ORDERED that the DOC shall make all CTF and CDF managers and staff
available for interviews, including telephonic interviews conducted by amici.

        It is further ORDERED that amici curiae be provided by DOC with a sufficient supply of
full personal protective equipment to safely enable their inspections at the time of those
inspections.
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Dated: April 8, 2020                                        /S/
                                                      Colleen Kollar-Kotelly
                                                      United States District Judge



                                         ATTACHMENT

Amici curiae are directed to review the following documents:

             •   The “DC Department of Corrections’ COVID-19 Response FAQs,” available at
                 https://doc.dc.gov/page/coronavirus-prevention

             •   The declarations and documents filed by Defendants:
                    o Dkt. No. 19-3 (Unity Health Care Coronavirus Protocol)
                    o Dkt. No. 19-4 (DOC Coronavirus Screening Protocol Flowchart)
                    o Dkt. No. 19-5 (DOH guidance, Email from Shreya Khuntia)
                    o Dkt. No. 19-6 (Medical Plan for Pandemic Influenza)
                    o Dkt. No. 20-1 (Declaration of Lennard Johnson)
                    o Dkt. No. 20-2 (Declaration of Beth Jordan)
                    o Dkt. No. 22 (SEALED DOC Pandemic Plan)

             •   The declarations and documents filed by Plaintiffs
                    o Dkt. No. 5-2 (Exhibits in Support of TRO)
                    o Dkt. No. 23-11 (Declaration of Michael Hannon)
                    o Dkt. No. 24-1 (Declaration of Doreen Deterville)
                    o Dkt. No. 24-2 (Declaration of Lennette Nesbitt)
                    o Dkt. No. 26-1 (Declaration of Kamal Donchy)
                    o Dkt. No. 26-2 (Declaration of James Guillory)
                    o Dkt. No. 26-3 (Declaration of David Randolph)
                    o Dkt. No. 26-4 (Declaration of Micheal Cohen III)
                    o Dkt. No. 26-7 (Declaration of Jean Johnson)

Amici curiae are directed to answer the following questions:

       MEDICAL

       (1)    When residents display COVID-19 symptoms, as defined by the CDC, are they
       seen by medical staff?

       (2)       When residents display COVID-19 symptoms are they tested for COVID-19?

       (3)     Are there requests for a sick call based on suspected COVID-19 symptoms where
       there is no response?




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(4)    Is the response time for sick call requests of suspected COVID-19 symptoms for a
resident to be seen by medical staff reasonable (assuming time of request and response
time are recorded)?

(5)    Are residents suspected of COVID-19 isolated from other people?

(6)    Are new residents who enter DOC quarantined for 14 days?

(7)    How frequently do DOC medical staff and/or Unity Health Care staff meet with
DOC staff and residents to inform them about COVID-19 symptoms and precautions, and
what information is conveyed?

(8)    What visitor screening is conducted? Do the thermometers used for visitor
screening work and are they used properly?

(9)    How do the conditions of the quarantine housing compare to conditions in non-
quarantine housing, and are residents deterred from reporting symptoms?

ENVIRONMENTAL HEALTH & HYGIENE

(1)   What are the quantities of personal protective equipment and cleaning products in
the DOC stockpile?

(2)    Are residents provided with a weekly bar of soap?

(3)     Do staff who interact with visitors and residents have access to, and wear, sufficient
personal protective equipment (different personal protective equipment and/or other
protective equipment)?

(4)   Are staff and prisoner-workers given masks and gloves, particularly in food service
(where workers also wear hair/beard guards), and are they instructed to wear that
equipment?

(5)    Do residents have access to cleaning supplies in sufficient quantity and
concentration, including rags, to clean their cells?

(6)    Do housing units, and particularly common spaces such as bathrooms and showers,
appear to be sufficiently cleaned?

(7)     Do professional cleaning crews clean hallways and common areas (not in housing
units)? Do inmate details clean the housing units’ common spaces?

(8)    Are residents of CTF able to access hand sanitizer?

(9)     Is social distancing possible in common areas in units, and what is the approximate
size of common areas?



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(10) Approximately how many residents share a cell, and what is the approximate size
of the cell?

(11)   Do all residents have access to sinks, soap, and toilets?




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